         Case 8:18-bk-13870-MW                         Doc 120            Filed 03/31/21           Entered 03/31/21 19:02:37                          Desc
                                                                          Page 1 of 3
Amrane Cohen, Trustee                                                                                                                Case#: 8:18-bk-13870-MW
Orange City Square
770 The City Dr. South, #3700
Orange, CA 92868


                                         UNITED STATES BANKRUPTCY COURT
                                                         CENTRAL DISTRICT OF CALIFORNIA

                       TRUSTEE'S SIX MONTH REPORT OF RECEIPTS AND DISBURSEMENTS
                                                    For the period from October 01, 2020 to March 31, 2021
                                                            Chapter 13 Case #: 8:18-bk-13870-MW


Re: Francisco Ramirez                                                                                  Attorney:      Misty A Perry Isaacson
    Aurora Mendez Barajas                                                                                             Pagter and Perry Isaacson, APLC
    13422 Elmwood St.                                                                                                 525 N Cabrillo Park Dr Ste 104
    Garden Grove, CA 92843                                                                                            Santa Ana, CA 92701

This case percentage to unsecured creditors is 100.00 %

                                                         RECEIPTS FOR PERIOD
      Date       Source            Amount                 Date           Source          Amount               Date         Source         Amount
      Oct-20     7177448000            $1,639.00         Nov-20          7255880000        $1,639.00         Dec-20      7326026000          $1,639.00
      Jan-21     7400107000            $1,639.00         Feb-21          7471530000        $1,639.00         Mar-21      7545315000          $1,639.00



                    CLAIMS STATUS AND DISTRIBUTIONS FOR THE PERIOD

CLAIMANT NAME                                                              ACCOUNT #

Claim#                      Court                                                  Int       Claim       Percent to    Principal         Interest        Principal
                            Claim#                               Class            Rate      Amount        be paid        Paid              Paid          Balance

         Disbursement Date      Check #      Type      Disbursement Amt                  Disbursement Date      Check # Type         Disbursement Amt


Amrane (SA) Cohen (TR)
10                                                                                         NOT FILED

Aurora Mendez Barajas
11                                                                                         NOT FILED

Firtz J. Firman, Esq.
2                                                                                          NOT FILED

Francisco Ramirez Ramirez
12                                                                                         NOT FILED

Gregory Bosse
3                                                                                          NOT FILED

INTERNAL REVENUE SERVICE                                          9497
10004                          1                       Unsecured                             53,660.11 100.00%                0.00             0.00         53,660.11

Investment Consultants, Inc.                                      5933
5                              3                                                           NOT FILED

Misty A Perry Isaacson
0                                                      Admin                                 25,163.35 100.00%          22,159.26              0.00          3,004.09

         October 16, 2020            6219129 ATTF                  $1,475.10             November 20, 2020         6219840 ATTF                 $1,475.10
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                                                                       Page 2 of 3
CLAIMANT NAME                                                          ACCOUNT #                                                 Case#: 8:18-bk-13870-MW

Claim#                       Court                                           Int        Claim         Percent to   Principal         Interest       Principal
                             Claim#                            Class        Rate       Amount          be paid       Paid              Paid         Balance

         Disbursement Date       Check #     Type    Disbursement Amt              Disbursement Date         Check # Type        Disbursement Amt

         December 18, 2020            6220546 ATTF              $1,475.10          January 15, 2021           6221197 ATTF                  $1,475.10
         February 19, 2021            6221905 ATTF              $1,475.10          March 19, 2021             6222608 ATTF                  $1,475.10
13                                                                                    NOT FILED

OCWEN LOAN SERVICING, LLC                                       5933
16                              2                    Secured                                          100.00%             0.00             0.00          900.00

Office of the United State Trustee
7                                                                                     NOT FILED

Pite Duncan
8                                                                                     NOT FILED

ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
14                                                                                    NOT FILED

Santa Ana Division
1                                                                                     NOT FILED

United States Trustee (SA)
9                                                                                     NOT FILED
        Case 8:18-bk-13870-MW                     Doc 120          Filed 03/31/21           Entered 03/31/21 19:02:37                    Desc
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                                                                                                                          Case#: 8:18-bk-13870-MW

                                                SUMMARY TOTALS TO DATE
   Summary of all receipts and disbursements from the date the case was filed, to and including: 03/31/2021
   Receipts: $46,788.56 Plan Base: * $97,597.56 Base Balance: ** $50,809.00 Balance On Hand: $1,475.10
   Paid to Creditors: $18,725.27 Attorney Fees: $22,159.26 Debtor Refund: $0.00 Trustee Fees: $4,428.93




   NOTE: Checks issued by this office are highlighted in grey.
 * NOTE: The Debtor(s)must pay the greater of the principal balance or the base balance to qualify for a discharge. To obtain a plan balance
          contact the office at 714-621-0200 or connect to www.ndc.org.

 ** NOTE: Base Balance does not represent the payoff amount for your case. However, it does represent the minimum amount that you must pay
          into the case to qualify for a discharge.

      You must provide copies of your tax returns to the trustee within 15 days of filing. Failure to provide these tax returns may result in dismissal
  of your case or a challenge to your discharge. Tax refunds received by Debtor(s) who are not paying 100% to unsecured creditors are usually
  pledged to the plan. Any net refund you are entitled to less $500 per year must be turned over to the Trustee.

      You can make your plan payment by:

          ·    Sending cashier checks or money orders payable to Amrane Cohen Trustee to P.O. Box 1252, Memphis, TN 38101-1252.
          ·    Signing up for automatic withdrawal from your bank account by calling 714-621-0200.
          ·    By making your payment through ePay as described below.


                                            ePay for the Office of Amrane Cohen, Chapter 13 Trustee

ePay is an on-line system that allows you to tender your payments to the trustee on-line. You will benefit from using this system because:

     The cost of the system may be less than the cost of purchasing cashier’s checks or money order.

          You can schedule when you make your payments - however you are still responsible for making your payments prior to the due date.

          You will get e-mail confirmation that your payment has been tendered.

          If there is any problem getting the funds from your bank account you will get notification the next day.

          Payments will usually be posted to your case within two business days.

          You can tender any tax refunds pledged to the plan through this system.

You must register an account to take advantage of this system. Registering is free and simple. It can be done on-line at your convenience. You
may access the ePay system by visiting our web site: ch13ac.com and clicking on the ePay selection on the first page of the site.

You will be required to enter a transaction ID. In your case, your transaction ID is 1813870 followed by the last 4 digits of the social security
number of person listed first in this report (if you have a joint case).

There is a fee charged by our bank for this service and that fee is charged to you directly by the bank. The fee is $2.00 per payment.

We hope you will decide to use this system to tender all your payments to the office.
